             Case 6:19-bk-04058-CCJ         Doc 7     Filed 07/12/19     Page 1 of 38



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                              CASE NO.: 6:19-bk-04058-CCJ
                                                                                     CHAPTER 7
 Parley Jaye Clemons,
          Debtor,
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington
           Street, Suite 5100, Orlando, FL 32801 and serve a copy on the movant’s attorney,
           Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL, 6409
           Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate persons
           within the time allowed. If you file and serve a response within the time permitted,
           the Court will either schedule and notify you of a hearing, or consider the response
           and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Parley Jaye Clemons, filed a voluntary petition pursuant to Chapter 7 of the

       United States Bankruptcy Code on June 21, 2019.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

                                                                                       6:19-bk-04058-CCJ
                                                                                               19-284834
                                                                                                    MFR
                                                                                                  Page #1
        Case 6:19-bk-04058-CCJ          Doc 7     Filed 07/12/19      Page 2 of 38



   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On July 12, 2006, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $72,800.00 to

   Bank of America, N.A. The Mortgage was recorded on July 26, 2006 in Book 8772 at

   Page 4903 of the Public Records of Orlando County, Florida. The loan was transferred to

   Secured Creditor. True and accurate copies of documents establishing a perfected security

   interest and ability to enforce the terms of the Note are attached hereto as Composite

   Exhibit “A.” The documents include copies of the Note with any required indorsements,

   Recorded Mortgage, Assignment(s) of Mortgage, and any other applicable documentation

   supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

5. The terms and conditions of the Note and Mortgage were later amended pursuant to the

   Loan Modification Agreement (“Agreement”) made July 18, 2016. Said Agreement

   created a new principal balance of $67,682.87. A true and accurate copy of the

   Agreement is attached hereto as Composite Exhibit “A”.

6. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,

   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

7. The mortgage provides Secured Creditor a lien on the real property located at 7624


                                                                                   6:19-bk-04058-CCJ
                                                                                           19-284834
                                                                                                MFR
                                                                                              Page #2
        Case 6:19-bk-04058-CCJ          Doc 7     Filed 07/12/19     Page 3 of 38



   Riverside Place, Orlando, Florida 32810, in Orange County, and legally described as

   stated in the mortgage attached in Composite Exhibit “A.”

8. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since August 1, 2018. As of June 26, 2019, the total amount owed on the loan

   was approximately $74,345.50.

9. The appraised value of the property is $66,759.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8). The subject

   property is also encumbered by additional liens in the amount of $16,524.00.

10. Based upon the Debtor(s)’ schedules, the property is surrendered and claimed as

   non-exempt. The Trustee has not abandoned the property.

11. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

12. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

13. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor


                                                                                   6:19-bk-04058-CCJ
                                                                                           19-284834
                                                                                                MFR
                                                                                              Page #3
            Case 6:19-bk-04058-CCJ         Doc 7     Filed 07/12/19       Page 4 of 38



       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

       Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

       Debtor’s assets.

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   15. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: July 12, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com

                                                                                    6:19-bk-04058-CCJ
                                                                                            19-284834
                                                                                                 MFR
                                                                                               Page #4
           Case 6:19-bk-04058-CCJ        Doc 7    Filed 07/12/19   Page 5 of 38



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 12, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Parley Jaye Clemons
540 East George
Maitland, FL 32751

Perry M Nardi
Nardi & Nardi, P.A.
1009 Maitland Center Commons Blvd., #218
Maitland, FL 32751

Richard B Webber
Post Office Box 3000
Orlando, FL 32802

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801




                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




                                                                               6:19-bk-04058-CCJ
                                                                                       19-284834
                                                                                            MFR
                                                                                          Page #5
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 6 of 38




        COMPOSITE EXHIBIT “A”
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 7 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 8 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 9 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 10 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 11 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 12 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 13 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 14 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 15 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 16 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 17 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 18 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 19 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 20 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 21 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 22 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 23 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 24 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 25 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 26 of 38
012346789   Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 27 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 28 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 29 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 30 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 31 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 32 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 33 of 38
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 34 of 38




                  EXHIBIT “B”
012314325                                        Case 6:19-bk-04058-CCJ                      Doc 706479 07/12/19
                                                                                                     Filed           Page 35 of 38


                    <FLEMNFO              <LPFO@<FLEMN           QFOAPIO             XW$v&W'w#4&x$W(#y!W(   RJ@SLTDE=IFO                     <=>?@AB@CDE@FGHDI=CJKKK
             9:+U#4)V&W")(&#XYZ                                                                                      @      @
             HLeFfOg                                       iNJO=MLP@<IEFFI@jkkEFOO
             hPFeD?O@iLEPFJ                                _m[`@Q=TFEO=kF@iP                                         @      @
             RL=P=?>@jkkEFOO@l?@S=PF                       iDOILP@h=IJ@L?k@r=BMDkF
             _m[`@Q=TFEO=kF@iP@                            lEPL?kDn@SP@b[\]a                                         @      @
             lEPL?kDn@So@b[\]aG]`a_@                       iEDBFEIJ@sOF
             p?MDEEFMI@RL=P=?>@jkkEFOOq                    a]ab@G@<=?>PF@SLe@hPLOO@ppp                               @      @
                                                           RA?=M=BLP=IJ
                                                           s?Gp?MDEBDELIFk
            @
            t)&u#+,-7#XW$v&W'w#4&x$W(#y!W(
               XW$v&W'w#z&!'{W&" LPAFOn@FeBI=D?O@L?k@LFO |!Y&"#0*!Yw")"                                }$x!')$*#~*$       !W&'#|'!'" sBkLIF@p?CDEeLI=D?
             )"'$W)x!Y#t!Y{&#!*(#/!#&*&)'"#                                                                !"#$%&"'&!(#)*#+,-. +,-7#/!#W&!($u*
            /!#2&!W#t!Y{&"                        }!*(   {)Y()*"       z&!'{W&"       !W&'#t!Y{& 0""&""&(#t!Y{&
            +,-7                                [cncaa
                                                       b\n[c^  bnaaa  mmn_c^ fb]g  9-U; f[K]g
            +,-9                                []naaa
                                                       [_na]c  bnaaa  c]na]c f`bg  :7- f[K]g
            +,-:                                ]\naaa
                                                       ]`nmbb  bnaaa  bcnmbb fG]`g  ;: fG^Kbg
            +,-;                                      [anm`_  bnaaa  `]nm`_
                                                 ]\naaa                                                     .+..
            /!#2&!W#&*&)'"                    W))*!Y#$%&"'&!( '&W#3&%v')$*"              | #y!v             /!#|!V)*"
            +,-7                                        [cnaaa                 a  [^nm]`                              7.:
            +,-9                                        [cnaaa                 a  ]`nmb`                              :;7
            +,-:                                        [cnaaa                 a                   a                  U+U
            +,-;                                        [cnaaa                 a  [nb`\                               U9;
            +,-7#/!!Y&#t!Y{&#!*(#y&W'))&(#/!&"#                                /01#230455655+,-755855+,-955855+,-:55855+,-;
            /!)*#0{'$W)'w                      0""(#t!Y{& 3&%v')$* /!#t!Y{&                )YY!&#4!'& /!&"
            iAP=M@<MNDDPO@J@<ILIF@oL@fQPFg    b_n]`c        [cnaaa  ][n]`c           `Kac]a fG`Kacg U.+,[c@
            iAP=M@<MNDDPO@J@oDMLP@DLEk        b_n]`c        [cnaaa  ][n]`c           bK[`\a faKaag .U;[a@
            lEL?>F@hDA?IJ@fF?FELPg               b_n]`c        [cnaaa  ][n]`c           `K̀b`_ faKaag ;7:[_@
            s?=?MDEBDELIFk@hDA?IJ@S=EF            b_n]`c        [cnaaa  ][n]`c           [K[`b_ faKaag +9+;]`@
            s?=?MDEBDELIFk@L=?>@=OIE=MI        b_n]`c        [cnaaa  ][n]`c           ]K\a`b faKaag +-.-]]@
                                                                                                                                                                       214
Case 6:19-bk-04058-CCJ   Doc 7   Filed 07/12/19   Page 36 of 38




                  EXHIBIT “C”
            Case 6:19-bk-04058-CCJ        Doc 7    Filed 07/12/19     Page 37 of 38




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                           CASE NO.: 6:19-bk-04058-CCJ
                                                                                  CHAPTER 7
 Parley Jaye Clemons,
          Debtor.
 _________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a
Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate
response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 7624 Riverside Place, Orlando, Florida 32810
       in Orlando County, Florida, and legally described as:
       LOTS 35, 36, 37, AND 38, BLOCK A, RIVERSIDE PARK, ACCORDING TO THE
                                               1
           Case 6:19-bk-04058-CCJ         Doc 7      Filed 07/12/19   Page 38 of 38



       PLAT RECORDED IN PLAT BOOK N, PAGE 34, OF THE PUBLIC RECORDS OF
       ORANGE COUNTY, FLORIDA.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                               ###
Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.




                                                2
